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                     BEFORE THE UNITED STATES JUDICIAL PANEL
                          ON MULTIDISTRICT LITIGATION


 IN RE:
                                                                     MDL No. 3010
 GOOGLE DIGITAL ADVERTISING
 ANTITRUST LITIGATION

                      NOTICE OF POTENTIAL TAG-ALONG ACTION

        In accordance with Rule 7.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, Defendant Google LLC (“Google”) writes to notify the Judicial

Panel on Multidistrict Litigation of the potential tag-along action, Kande v. Google LLC, Case

No. 4:25-cv-03733-KAW (N.D. Cal filed April 29, 2025). This tag-along involves common

questions of fact with the other actions that this Panel has centralized in multidistrict litigation,

and is in fact admittedly a copy of the claims brought by the putative advertiser class. Moreover,

transfer of this tag-along action does not come too late in MDL proceedings because

“[s]ignificant pretrial proceedings in the MDL remain,” and “the voluminous fact discovery

previously produced in the MDL likely is relevant” to the claims in this tag-along action.

Transfer Order at 2, MDL No. 3010, ECF No. 276. Accordingly, Google believes that transfer

under 28 U.S.C. § 1407 will serve the convenience of the parties and witnesses and promote the

just and efficient conduct of the litigation.

        The docket sheet, schedule of actions, and complaint for the potential tag-along action are

attached hereto.
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Dated: April 30, 2025                 Respectfully submitted,

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